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   4   Email: gary@sedlikgroup.com
   5   Attorneys for Plaintiff Jeffrey B. Sedlik
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   8                             UNITED STATES DISTRICT COURT
   9                        CENTRAL DISTRICT OF CALIFORNIA
  10                                  WESTERN DIVISION
  11
       JEFFREY B. SEDLIK, an individual;           Case No. 2:21-cv-01102-DSF-MRWx
  12
                    Plaintiff,                     Before the Hon. Dale S. Fischer,
  13                                               U.S. District Judge
             vs.
  14
       KATHERINE VON                               JOINT STIPULATION
  15   DRACHENBERG (a.k.a. “KAT                    REQUESTING MODIFICATION
       VON D”), an individual; KAT                 OF MAY 19, 2021 “ORDER/
  16   VON D., INC., a California                  REFERRAL TO ADR” TO PERMIT
       corporation; HIGH VOLTAGE                   ADR PROCEEDINGS BEFORE
  17   TATTOO, INC., a California                  UNITED STATES MAGISTRATE
       corporation; and DOES 1 through 10,         JUDGE (ADR PROCEDURE NO. 1)
  18   inclusive,
  19                Defendants.                    Action filed:   February 7, 2021
                                                   Trial:          July 26, 2022
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   1         Plaintiff Jeffrey Sedlik (“Plaintiff”), on one hand, and Defendants Katherine
   2   Von Drachenberg, Kat Von D., Inc., and High Voltage Tattoo, Inc. (together,
   3   “Defendants”), on the other hand, by and through their counsel of record, enter into
   4   this Joint Stipulation requesting modification of this Court’s May 19, 2021
   5   “ORDER/REFERRAL TO ADR” to permit the parties to proceed with ADR
   6   Procedure No. 1, specifically settlement proceedings before the United States
   7   Magistrate Judge assigned to this case, the Hon Michael R. Wilner, U.S. Magistrate
   8   Judge, or any other United States Magistrate Judge available to conduct settlement
   9   proceedings, based on the following facts:
  10         WHEREAS, this action was filed on February 7, 2021;
  11         WHEREAS, this Court’s “ORDER/REFERRAL TO ADR” (Dkt. 20) set
  12   ADR Procedure No. 3 as the required ADR Procedure, based on the parties’
  13   submissions regarding their preferred ADR Procedure at the time;
  14         WHEREAS, the parties’ counsel have conferred and have agreed, subject to
  15   this Court’s approval, to proceed with ADR Procedure No. 1, specifically
  16   settlement proceedings before the United States Magistrate Judge assigned to this
  17   case, the Hon Michael R. Wilner, U.S. Magistrate Judge, or any other United States
  18   Magistrate Judge available to conduct settlement proceedings;
  19         NOW, THEREFORE, THROUGH COUNSEL OF RECORD, AND
  20   SUBJECT TO APPROVAL OF THE COURT, THE PARTIES STIPULATE AS
  21   FOLLOWS:
  22         1.       Plaintiff and Defendants and their counsel agree to proceed with ADR
  23   Procedure No. 1, specifically, settlement proceedings before the United States
  24   Magistrate Judge assigned to this case, the Hon Michael R. Wilner, U.S. Magistrate
  25   Judge, or any other United States Magistrate Judge available to conduct settlement
  26   proceedings;
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   1         2.     Promptly following this Court’s issuance of an order based on this
   2   stipulation, counsel for the parties shall jointly contact the chambers of the Hon
   3   Michael R. Wilner, U.S. Magistrate Judge to schedule ADR proceedings;
   4         3.     In the event that the Hon Michael R. Wilner, U.S. Magistrate Judge is
   5   not available to conduct settlement proceedings pursuant to the parties’ request,
   6   counsel for the parties agree to proceed before any United States Magistrate Judge
   7   as directed by this Court.
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   9         THROUGH COUNSEL OF RECORD, IT IS SO STIPULATED.
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                                          Respectfully submitted,
  11   Dated: March 9, 2022
                                          GRODSKY, OLECKI & PURITSKY LLP
  12                                       Allen B. Grodsky
                                           John J. Metzidis
  13
  14                                      By:     /s/ John J. Metzidis (w/ permission)
                                                      John J. Metzidis
  15
                                          Attorneys for Defendants Katherine Von
  16                                      Drachenberg, Kat Von D, Inc., and High Voltage
                                          Tattoo, Inc.
  17
       Dated: March 9, 2022               SEDLIKGROUP, P.C.
  18                                       Gary S. Sedlik
  19
                                          By:     /s/ Gary S. Sedlik
  20                                                  Gary S. Sedlik
  21                                      Attorneys for Plaintiff Jeffrey B. Sedlik
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   1                     COMPLIANCE WITH LOCAL RULE 5-4.3.4
   2         Pursuant to Local Rule 5-4.3.4(a)(2)(i), I attest that all other signatories
   3   listed, and on whose behalf this filing is submitted, concur in this filing’s content
   4   and have authorized this filing.
   5
       Dated: March 9, 2022                By:     /s/ Gary S. Sedlik
   6                                                   Gary S. Sedlik
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